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                                        #:11903


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         15                      UNITED STATES DISTRICT COURT
         16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
         17 ARNOLD GOLDSTEIN, et al.,                      Case No. 2:17-CV-02477-DSF-(SKx)
         18                Plaintiffs,                     DECLARATION OF ADAM M.
         19         v.                                     SHAPIRO IN SUPPORT OF
         20 EXXON MOBIL CORPORATION, et                    PLAINTIFFS’ UNOPPOSED
                                                           MOTION FOR APPROVAL OF
         21 al.,                                           CLASS NOTICE
         22                Defendants.
                                                           Judge: Dale S. Fischer
         23
                                                           DATE:      June 29, 2020
         24                                                TIME:      1:30 p.m.
         25                                                CRTM:      7D

         26                                                Date of Removal: March 30, 2017
                                                           Second Amended Complaint filed: July
         27                                                9, 2018
         28
  SHER        DECL OF ADAM M. SHAPIRO ISO PLAINTIFFS’ UNOPPOSED MOT. FOR APPROVAL OF CLASS NOTICE.
EDLING LLP    CASE NO. 2:17-CV-02477-DSF
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             1         I, Adam M. Shapiro , declare as follows:
             2         1.    I am an attorney duly admitted to practice before all courts of the
             3 State of California and in the United States District Court for the Central District of
             4 California. I am a senior associate in the law firm of Sher Edling LLP, co-counsel
             5 for Plaintiffs Arnold Goldstein, Hany Youssef, and Gisela Janette La Bella
             6 (collectively “Plaintiffs”).   I submit this Declaration in support of Plaintiffs’
             7 Motion for Approval of Class Notice. I have personal knowledge of the facts set
             8 forth below, and if called upon to testify, I could and would competently testify to
             9 them.
         10            2.    Attached hereto as Exhibit 1 is a true and correct copy of the Class
         11 Notice that will be distributed to class members in this matter. Plaintiffs’ counsel
         12 has met and conferred with Defense counsel regarding the language of the Class
         13 Notice and Distribution Plan, and Torrance Refining Company LLC and Exxon
         14 Mobil Corporation have stated they will not oppose this Motion. The Notice
         15 informs the Ground Subclass of: (1) the persons that qualify as a member of the
         16 Ground Subclass; (2) the claims at issue in the lawsuit; (2) the relief sought, (3) the
         17 consequences of remaining in the class, (4) how to be excluded from the class, and
         18 the consequences of being excluded, and (5) how to obtain additional information.
         19            3.    Plaintiffs have retained a class action administrator, Rust Consulting,
         20 for purpose of class notice distribution in this case. Plaintiffs selected Rust
         21 Consulting because it has substantial experience in class action claims
         22 administration and has successfully administered thousands of such cases.
         23            4.    Within 30 days of approval of the instant Motion, Rust Consulting
         24 will mail the Notice directly to addresses falling within the Ground Subclass area,
         25 as that area is described in the Declaration of W. Richard Laton submitted in
         26 support of Plaintiff’s Renewed Motion for Class Certification. Plaintiff shall bear
         27 the cost of mailing of the Class Notice. Approximately 100 properties fall within
         28                                               1       DECL OF ADAM M. SHAPIRO ISO PLAINTIFFS’
                                                                   UNOPPOSED MOT. FOR APPROVAL OF CLASS
  SHER                                                                                            NOTICE.
EDLING LLP                                                                    CASE NO. 2:17-CV-02477-DSF
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             1 the class area.
             2        5.     Class members can opt out of the class by mailing their request to
             3 Rust Consulting within sixty (60) days after the Notice is has been sent. The list of
             4 Class Members who requested exclusion from the action shall be filed with the
             5 Court within 30 days of the Response Deadline.
             6        6.     Additionally, Rust Consulting will establish a class website, which
             7 will include information and documents including the Class Notice, the operative
             8 complaint, Defendants’ Answer, and the Class Certification Order.
             9
         10           I declare under penalty of perjury under the laws of the State of California
         11 and the United States of America that the foregoing is true and correct and that I
         12 executed this Declaration on May 28, 2020 at San Francisco, California.
         13
         14                                           /s/ Adam M. Shapiro
                                                      Adam M. Shapiro
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         28                                              2      DECL OF ADAM M. SHAPIRO ISO PLAINTIFFS’
                                                                 UNOPPOSED MOT. FOR APPROVAL OF CLASS
  SHER                                                                                          NOTICE.
EDLING LLP                                                                  CASE NO. 2:17-CV-02477-DSF
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        EXHIBIT 1
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                   UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 If you own property in Torrance, California in the designated
area adjacent to the Torrance Refinery, a class action lawsuit
                    may affect your rights.
                      A federal court authorized this Notice. This is not a solicitation.




Plaintiffs filed a class action against the former and current owners of an oil refinery in Torrance,
California formerly operated by Defendant Exxon Mobil Corporation and currently operated by
Defendant Torrance Refining Company LLC. Plaintiffs allege harms caused by soil vapor relating to
alleged groundwater contamination from the Refinery.
The Court has allowed the lawsuit to proceed as a class action on behalf of the following class:
         Soil and Ground Water Class (“Ground Class”) with respect to claims for trespass – Persons
         who currently own real property within the boundaries of Zones A, B, and C in the attached
         maps, and who occupy or have a possessory interest in that property.
The properties falling within these zones have the following addresses in Torrance, California: 2128 to
2461 Del Amo Blvd; 357 and 373 Van Ness Avenue; 370 Amapola Avenue; and 2281 W. 205th St.
The Court has not decided whether Defendants did anything wrong and Defendants maintain they have
done nothing wrong. There are no benefits available now, and there is no guarantee that there will be.
However, your legal rights may be affected, and you have a choice to make now.

                                   YOUR LEGAL RIGHTS AND OPTIONS
                    You Can Stay In This Lawsuit And Await The Outcome - and in so doing
                    possibly share in the remedial benefits sought by Plaintiff, but also give up
                    certain rights.
 DO NOTHING         If you are a Class Member, you do not need to do anything at this time. You will
                    remain part of the Class and you may be entitled to benefits that may come from a
                    trial or settlement of the lawsuit. If you do not ask to be excluded, you will remain
                    in the lawsuit and you will give up the right to sue Defendants on your own about
                    the legal claims concerning your property included in this lawsuit.

                    You Can Exclude Yourself From The Class And You Will Not Get Any
                    Benefits From This Lawsuit But You Get To Keep Your Rights to Sue
 EXCLUDE            Defendants.
 YOURSELF FROM      If you ask to be excluded from the Class and benefits are later awarded, you will
 THE CLASS          not receive any benefits. But you will keep any rights you may have to sue
                    Defendants in another proceeding about the same legal claims certified in this
                    lawsuit.
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Your options and the deadlines to exercise them are explained in this Notice. To ask to be excluded
from the Class, you must act by Month DD, 20YY.


                                         BASIC INFORMATION
1. Why did I get this Notice?
The purpose of this Notice is to inform you that a Court has established or “certified” certain claims in this
case as a class action. The Notice also advises you of how your rights may be affected by this lawsuit, so
that you can make an informed decision about whether you should remain in the lawsuit or request to be
excluded from the Class.
You may be a member of the class if you currently own and occupy, or have a possessory interest in, the
real property within the identified boundaries. This Notice and the attached maps will provide more details
regarding the identified boundaries of properties alleged to be impacted.
Judge Dale S. Fischer of the United States District Court for the Central District of California (the “Court”),
is currently overseeing this case. The case is known as Arnold Goldstein, et al. v. ExxonMobil Corporation
et al., Case No. 2:17-cv-02477-DSF-SK. The people who sued are called the Plaintiffs, the companies
they are suing, Exxon Mobil Corporation and Torrance Refining Company LLC, are called the Defendants.
2. What is a class action?
In a class action, one or more people called “Class Representatives” (in this case, Hany Youssef) sue on
behalf of people who have similar claims. All these people are a “Class” or “Class Members.” One court
resolves the issues for all Class Members, except for those who exclude themselves from the Class, in
which case those people can file their own claims. The Court has currently decided that certain claims in
this lawsuit can proceed as a class action. More information about why the Court is currently allowing
these claims to proceed as a class action is in the Court’s Order Granting in Part Plaintiffs’ Renewed Motion
for Class Certification, which you may view at www.xxxxxxxx.com.


                                  WHAT IS THIS LAWSUIT ABOUT?
3. What is this lawsuit about?
On February 17, 2017, Plaintiffs filed this putative class action against the former and current owners of
the Torrance Refinery. In this lawsuit, Plaintiffs allege that the Torrance Refinery has released harmful
pollutants in the land around the Refinery that has resulted in soil vapor detections in certain properties.
Based on these allegations, Plaintiffs assert claims for trespass on behalf of the Ground Class.
4. What Do Plaintiffs Seek?
Plaintiffs seek abatement or cost of abatement in the affected areas defined by the Ground Class, and
remedial measures to be implemented by Defendants. In addition, Plaintiffs seek reasonable attorneys’
fees and costs.
5. Are there any benefits available now?
No. The Court has not decided whether the Defendants did anything wrong, or whether any Class Members
are entitled to the remedial relief sought, so there are no benefits available to the Class at this time and no

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             QUESTIONS? CONTACT CLASS COUNSEL AT INFO@MATERNLAWGROUP.COM OR
                                 XXXXXXXXXXXX@XXX.com
                                                4841-0393-9249.v1
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guarantee that there ever will be. If benefits become available, Class members may have to take other steps,
such as submitting a claim form, in order to get their shares. If so, you will be notified of any additional
steps you must take. You can stay informed of the progress of this case by visiting the website
www.xxxxxxxx.com or by calling 310-531-1900 or 628-231-2500.
6. How Do Defendants Answer?
Defendants deny Plaintiffs’ allegations in full and maintain that the alleged soil vapor is minimal or non-
existent in the defined class area, and there is no risk to class members. Defendants maintain that they are
subject to regulation by the appropriate California and federal governmental agencies tasked with ensuring
public health and safety and these agencies have not imposed any violations arising from the allegations in
this case.
7. Has the Court decided who is right?
No. The Court has not decided whether Plaintiffs or Defendants are right. By establishing the Class and
issuing this Notice, the Court is not suggesting that the Plaintiffs will win or lose this case.
The Court has not ruled on the merits of Plaintiffs’ claims or Defendants’ defenses.


                                        WHO IS IN THE CLASS?
8. Am I part of this Class?
The Court certified the following class:
       o Ground Class with respect to claims for trespass only: Persons who currently own real property
         within the boundaries of Zones A, B, and C of the Plaintiffs’ maps, and who occupy or have a
         possessory interest in that property.
Plaintiffs’ maps are attached, and Zones A, B, and C include the following property addresses in Torrance
California: 2128 to 2461 Del Amo Blvd; 357 and 373 Van Ness Avenue; 370 Amapola Avenue; and 2281
W. 205th St.
Also attached is a list of properties falling within the Ground Class. If your residence is within either of
these boundaries, you may be a member of the class.
9. What if I am still not sure if I am included in the class?
If you are still not sure whether you are included in the class, you can contact Class Counsel by email at
info@sheredling.com or info@maternlawgroup.com, or by calling 310-531-1900 or 628-231-2500.



                                     YOUR RIGHTS AND OPTIONS
If you are a Class Member, you must decide now whether to stay in the Class or ask to be excluded.
10. What happens if I do nothing?
If you are a Class Member and you do nothing, you will stay in the Class. If you stay in the Class, you will
also be legally bound by any and all orders the Court issues and judgments the Court makes in this class
action. If you stay in the Class and the Class is awarded benefits, either as a result of trial or settlement,

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             QUESTIONS? CONTACT CLASS COUNSEL AT INFO@MATERNLAWGROUP.COM OR
                                 XXXXXXXXXXXX@XXX.com
                                                4841-0393-9249.v1
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you will be notified about the benefits to which you are entitled. If you do nothing now, regardless of
whether Plaintiffs win or lose at trial, you will not be able to sue, or continue to sue, Defendants as part of
any other lawsuit for the same legal claims certified in this lawsuit. You will also be legally bound by any
and all orders the Court issues and judgments the Court makes in this class action.
11. What happens if I exclude myself?
If you exclude yourself from the Class, you will not be part of this Class and will not receive any benefits
if Plaintiffs are successful in winning this case or if the Parties reach a settlement. You will not be legally
bound by the Court’s judgments or orders in this case if you exclude yourself. If you exclude yourself, you
preserve your right to sue Defendants in a separate action for the claims certified in this lawsuit. If you
bring your own lawsuit against Defendants after you exclude yourself, you may hire your own lawyer for
that lawsuit and pursue your own claims. If you do exclude yourself, you should talk to your own lawyer
soon, so you can file any claim you have in time.
12. How do I exclude myself from the Class?
To exclude yourself from the Class, you must send a written request for exclusion with the following
information:

    (1) The name of the lawsuit (Goldstein v. ExxonMobil Corporation, Case No. 2:17-cv-02477-DSF-SK);

    (2) Your full name and current address;

    (3) A statement requesting to exclude yourself, such as “I wish to be excluded from the Class”; and

    (4) Your signature.

You must mail your Exclusion Request postmarked by Month DD, 20YY to:
                           Goldstein v. ExxonMobil Corporation Administrator
                                              [P.O. Box]
                                            [City, State Zip]

The Court will exclude from the class any Class member who requests exclusion.



                                THE LAWYERS REPRESENTING YOU
13. Do I have a lawyer in this case?
Yes. The Court appointed the law firms Sher Edling LLP and Matern Law Group, PC to represent Plaintiffs
and all Class Members as “Class Counsel.” For more information regarding Class Counsel, you can visit
their websites at www.maternlawgroup.com and www.sheredling.com. You do not have to pay Class
Counsel out of your own pocket. If you want to be represented by your own lawyer, you may hire one at
your own expense.




                                            -4-
             QUESTIONS? CONTACT CLASS COUNSEL AT INFO@MATERNLAWGROUP.COM OR
                                 XXXXXXXXXXXX@XXX.com
                                                4841-0393-9249.v1
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14. Should I get my own lawyer?
If you choose to remain in the Class, you do not need to hire a lawyer. But if you want your own lawyer,
you will be responsible for hiring your own lawyer. For example, you can ask your attorney to appear in
Court for you if you want someone other than Class Counsel to speak for you.
15. How will Class Counsel be paid?
If Class Counsel are successful and obtain benefits for the Class, they may ask the Court for reasonable
attorneys’ fees and expenses. You will not have to pay these fees and expenses. If the Court grants Class
Counsel’s request, the fees and expenses will be paid separately by the Defendants.



                                                 THE TRIAL
16. How and when will the Court decide who is right?
If the case is not resolved by a settlement or dismissed, Class Counsel will have to prove Plaintiffs’ claims
in this lawsuit at a trial. There is no guarantee that Plaintiffs will win or that they will get any benefits for
the Class. Trial is presently scheduled to begin on March 23, 2021.
17. Do I have to come to the trial?
You do not need to attend the trial unless you are subpoenaed as a witness. Class Counsel will present the
case for the Class Members, and Defendants will present their defenses. You or your own lawyer are
welcome to attend at your own expense. If you wish to participate in the trial, you should contact Class
Counsel.
18. Will I get benefits after the trial?
At this time, the Court has not made a decision on the merits of this case. If the Class is successful at trial
or reaches a settlement that requires Defendants to further remediate the alleged soil vapor contamination,
you will be notified about how to participate. We do not know how long this will take.



                                    GETTING MORE INFORMATION
19. How can I get additional information?
You may obtain more information by contacting Class Counsel by email at info@sheredling.com or
info@maternlawgroup.com, or by calling 310-531-1900 or 628-231-2500.
           PLEASE DO NOT CALL OR WRITE THE COURT ABOUT THIS NOTICE
Dated: Month DD, 20YY
By Order of the Court




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             QUESTIONS? CONTACT CLASS COUNSEL AT INFO@MATERNLAWGROUP.COM OR
                                 XXXXXXXXXXXX@XXX.com
                                                 4841-0393-9249.v1
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                     PROPERTIES IN THE GROUND CLASS AREA

 2128 Del Amo Blvd           2232 Del Amo Blvd        2360 Del Amo Blvd
 2129 Del Amo Blvd           2233 Del Amo Blvd        2361 Del Amo Blvd
 2130 Del Amo Blvd           2234 Del Amo Blvd        2364 Del Amo Blvd
 2131 Del Amo Blvd           2235 Del Amo Blvd        2368 Del Amo Blvd
 2134 Del Amo Blvd           2236 Del Amo Blvd        2372 Del Amo Blvd
 2135 Del Amo Blvd           2240 Del Amo Blvd        2373 Del Amo Blvd
 2136 Del Amo Blvd           2242 Del Amo Blvd        2376 Del Amo Blvd
 2137 Del Amo Blvd           2243 Del Amo Blvd        2377 Del Amo Blvd
 2139 Del Amo Blvd           2251 Del Amo Blvd        2400 Del Amo Blvd
 2140 Del Amo Blvd           2254 Del Amo Blvd        2401 Del Amo Blvd
 2142 Del Amo Blvd           2257 Del Amo Blvd        2406 Del Amo Blvd
 2145 Del Amo Blvd           2260 Del Amo Blvd        2407 Del Amo Blvd
 2146 Del Amo Blvd           2261 Del Amo Blvd        2410 Del Amo Blvd
 2150 Del Amo Blvd           2264 Del Amo Blvd        2411 Del Amo Blvd
 2151 Del Amo Blvd           2265 Del Amo Blvd        2414 Del Amo Blvd
 2203 Del Amo Blvd           2268 Del Amo Blvd        2415 Del Amo Blvd
 2204 Del Amo Blvd           2269 Del Amo Blvd        2418 Del Amo Blvd
 2205 Del Amo Blvd           2272 Del Amo Blvd        2419 Del Amo Blvd
 2206 Del Amo Blvd           2273 Del Amo Blvd        2422 Del Amo Blvd
 2207 Del Amo Blvd           2276 Del Amo Blvd        2423 Del Amo Blvd
 2208 Del Amo Blvd           2277 Del Amo Blvd        2428 Del Amo Blvd
 2209 Del Amo Blvd           2301 Del Amo Blvd        2429 Del Amo Blvd
 2212 Del Amo Blvd           2307 Del Amo Blvd        2432 Del Amo Blvd
 2213 Del Amo Blvd           2311 Del Amo Blvd        2433 Del Amo Blvd
 2215 Del Amo Blvd           2315 Del Amo Blvd        2454 Del Amo Blvd
 2218 Del Amo Blvd           2319 Del Amo Blvd        2455 Del Amo Blvd
 2220 Del Amo Blvd           2327 Del Amo Blvd        2461 Del Amo Blvd
 2221 Del Amo Blvd           2334 Del Amo Blvd        357 Van Ness Avenue
 2222 Del Amo Blvd           2337 Del Amo Blvd        373 Van Ness Avenue
 2227 Del Amo Blvd           2350 Del Amo Blvd        370 Amapola Avenue
 2229 Del Amo Blvd           2351 Del Amo Blvd        2281 W. 205th St.
 2230 Del Amo Blvd           2356 Del Amo Blvd
 2231 Del Amo Blvd           2357 Del Amo Blvd
                                                      Case 2:17-cv-02477-DSF-SK Document 209-1 Filed 05/28/20 Page 11 of 11 Page ID
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                                                                    Ground Class Area Map




                                                                                                                                                           Van Ness Ave.
  Crenshaw Blvd.




                   Del Amo Blvd.                                                                                                           Del Amo Blvd.
  Crenshaw Blvd.




                                                                                                                                      Van Ness Ave.
Legend
   Parcels
Zone




                       ±
   Zone A
   Zone B
   Zone C                    300   150   0   300
                                               Feet
